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                                                          MOSER LAW FIRM, PC
Steven J. Moser
Tel: 631-824-0200
steven.moser@moserlawfirm.com

                                                   March 23, 2023

VIA ECF

Hon. Stewart D. Aaron, USMJ
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street
New York, NY 10007

       Re:    Alvarez v Kelco Landscaping, Inc et al, Case No. 21-cv-09014-PAE-SDA

Dear Judge Aaron:

        I write to respond to the Court’s Order of March 16, 2023 which, due to my error, was
not seen until today, March 23, 2023. I have been out of the office intermittently since March
16, 2023. I am presently out of state and scheduled to return to New York on March 28, 2023. I
have not had regular access to email and text message in my present location and apologize for
not responding sooner.

        Today, as my email updated, I note that the Defendants consented to the filing of a
further proposed amended pleading on March 22, 2023. I respectfully request leave to file said
pleading with the Defendants’ consent on or before March 25, 2023.

                                                   Respectfully Submitted,

                                                   Steven J. Moser
                                                   Steven J. Moser

CC:    All counsel of record via ECF




                             5 E. Main St., Huntington, NY 11743
                             www.moseremploymentlaw.com
